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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

                     Plaintiff,

             vs.                                              Case No. 21-cr-28

JAMES D. BEEKS,

                     Defendant.


                   ORDER MODIFYING RELEASE CONDITIONS

      Beeks’s unopposed motion to modify release conditions is granted. His conditions

of release are modified as follows. The condition that he reside in the Middle District of

Florida is modified to a condition that he temporarily reside in the Western District of

North Carolina. All other conditions of release remain in place.

                                                                    2022.03.31
                                                                    12:02:03 -04'00'
      ________________                          ____________________________________
      Date                                      Judge Amit P. Mehta, District Judge
